Case 1:21-cv-03354-BAH Document 101-3 Filed 09/29/23 Page 1 of 5




            EXHIBIT 2
                        Case 1:21-cv-03354-BAH Document 101-3 Filed 09/29/23 Page 2 of08/04/2023
                                                                                       5         07 : 30
Image# 202308049596496164
                                                                                                                                                                  PAGE 1 / 4

                                                       STATEMENT OF
      FEC
     FORM 1                                            ORGANIZATION
                                                                                                                                        Office Use Only

1.   NAME OF                                                (Check if name           Example: If typing, type
     COMMITTEE (in full)                                                             over the lines.
                                                                                                                      12FE4M5
                                                            is changed)


Giuliani Defense

                                                401 S County Rd
ADDRESS (number and street)
           (Check if address                    #3495
       ▼




           is changed)
                                                Palm Beach                                                              FL             33480

                                                        CITY                                                          STATE                                 ZIP CODE
                                                                    ▼                                                         ▼                                            ▼


COMMITTEE'S E-MAIL ADDRESS

           (Check if address                    rkiger@restoringusa.org
       ▼




           is changed)

                                                Optional Second E-Mail Address
                                                rkiger@fecinfusion.org



COMMITTEE'S WEB PAGE ADDRESS (URL)
           (Check if address
       ▼




           is changed)




                    M    M   /     D        D     /     Y       Y   Y   Y

2.   DATE               08             04                    2023



3.   FEC IDENTIFICATION NUMBER                                              C    C00847327
                                                            ▼




4.   IS THIS STATEMENT                 ✘              NEW (N)               OR                AMENDED (A)


I certify that I have examined this Statement and to the best of my knowledge and belief it is true, correct and complete.


Type or Print Name of Treasurer                 Kiger, Robert, , ,


                                                                                                                              M    M     /     D        D     /    Y   Y       Y   Y
                                 Kiger, Robert, , ,
Signature of Treasurer                                                                   [Electronically Filed]     Date          08               04                  2023


NOTE: Submission of false, erroneous, or incomplete information may subject the person signing this Statement to the penalties of 52 U.S.C. §30109.
                                  ANY CHANGE IN INFORMATION SHOULD BE REPORTED WITHIN 10 DAYS.

           Office                                                                         For further information contact:
                                                                                          Federal Election Commission                        FEC FORM 1
            Use                                                                                                                              (Revised 06/2012)
                                                                                          Toll Free 800-424-9530
           Only                                                                           Local 202-694-1100
Image# 202308049596496165
                    Case 1:21-cv-03354-BAH Document 101-3 Filed 09/29/23 Page 3 of 5

 FEC Form 1 (Revised 03/2022)                                                                                                     Page 2

5.   TYPE OF COMMITTEE:

     Candidate Committee:
     (a)         This committee is a principal campaign committee. (Complete the candidate information below.)

  (b)            This committee is an authorized committee, and is NOT a principal campaign committee. (Complete the candidate
		               information below.)
        Name of
        Candidate

        Candidate                                 Office                                                                          State
        Party Affiliation                         Sought:           House               Senate               President
                                                                                                                                District
     (c)         This committee supports/opposes only one candidate, and is NOT an authorized committee.

           Name of
           Candidate


     Party Committee:
                                                        (National, State                                         (Democratic,
     (d)		       This committee is a
                                                        or subordinate) committee of the                         Republican, etc.) Party


     Political Action Committee (PAC):
     (e)         This committee is a separate segregated fund. (Identify connected organization on line 6.) Its connected organization is a:


                       Corporation                                Corporation w/o Capital Stock                     Labor Organization

                       Membership Organization                    Trade Association                                 Cooperative

                            In addition, this committee is a Lobbyist/Registrant PAC.

  (f)            This committee supports/opposes more than one Federal candidate, and is NOT a separate segregated fund or party
		               committee. (i.e., nonconnected committee)

                            In addition, this committee is a Lobbyist/Registrant PAC.

                            In addition, this committee is a Leadership PAC. (Identify sponsor on line 6.)

     (g)         This committee is an independent expenditure-only political committee (Super PAC).

                            In addition, this committee is a Lobbyist/Registrant PAC.

     (h) ✘       This committee is a political committee with both contribution and non-contribution accounts (Hybrid PAC).

                            In addition, this committee is a Lobbyist/Registrant PAC.


     Joint Fundraising Representative:
                 This committee collects contributions, pays fundraising expenses and disburses net proceeds for two or more political		
  (i)
		               committees/organizations, at least one of which is an authorized committee of a federal candidate.

                 This committee collects contributions, pays fundraising expenses and disburses net proceeds for two or more political		
  (j)
		               committees/organizations, none of which is an authorized committee of a federal candidate.

           Committees Participating in Joint Fundraiser

           1.                                                                                            C
           2.                                                                                            C
                Case 1:21-cv-03354-BAH
Image# 202308049596496166                                      Document 101-3 Filed 09/29/23 Page 4 of 5


           FEC Form 1 (Revised 02/2009)                                                                                             Page 3
     Write or Type Committee Name

        Giuliani Defense
6.     Name of Any Connected Organization, Affiliated Committee, Joint Fundraising Representative, or Leadership PAC Sponsor
       NONE




       Mailing Address




                                                                 CITY                               STATE                     ZIP CODE
                                                                        ▼                                   ▼                            ▼


       Relationship:         Connected Organization      Affiliated Organization   Joint Fundraising Representative           Leadership PAC Sponsor




7.     Custodian of Records: Identify by name, address (phone number -- optional) and position of the person in possession of committee
       books and records.

                             Kiger, Robert, , ,
       Full Name
                                           PO Box 3495
       Mailing Address



                                           Palm Beach                                                 FL              33480


                                                                 CITY                               STATE                     ZIP CODE
                                                                        ▼                                   ▼                            ▼

       Title or Position ▼

        Treasurer                                                                                               720           837            4528
                                                                                   Telephone number



8.     Treasurer: List the name and address (phone number -- optional) of the treasurer of the committee; and the name and address of 		
       any designated agent (e.g., assistant treasurer).

       Full Name             Kiger, Robert, , ,
       of Treasurer

                                           PO Box 3495
       Mailing Address



                                           Palm Beach                                                  FL             33480


                                                                 CITY                               STATE                     ZIP CODE
                                                                        ▼                                   ▼                            ▼

       Title or Position ▼

        Treasurer                                                                                               720           837            4528
                                                                                   Telephone number
                 Case 1:21-cv-03354-BAH
Image# 202308049596496167                                  Document 101-3 Filed 09/29/23 Page 5 of 5


         FEC Form 1 (Revised 02/2009)                                                                                       Page 4


     Full Name of
                           Giuliani, Andrew, , ,
     Designated
     Agent

                                         400 Chambers St
     Mailing Address

                                         5K


                                         New York                                            NY               10282


                                                            CITY                          STATE                       ZIP CODE
                                                                   ▼                                ▼                            ▼

     Title or Position ▼

      Founder                                                                                           917           349            7370
                                                                            Telephone number



9.   Banks or Other Depositories: List all banks or other depositories in which the committee deposits funds, holds accounts, rents 		
     safety deposit boxes or maintains funds.


     Name of Bank, Depository, etc.


                           Wells Fargo

                                        255 County Rd
     Mailing Address



                                         Palm Beach                                            FL             33480


                                                           CITY                           STATE                       ZIP CODE
                                                                   ▼                                ▼                            ▼




     Name of Bank, Depository, etc.




     Mailing Address




                                                           CITY                           STATE                       ZIP CODE
                                                                   ▼                                ▼                            ▼
